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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

 

 

U.S. COURTS

JUL 11 2018

Revd____Filed__
STEPHEN W. rene
CLERK, DISTRICT OF IDAHO

i GINAL

UNITED STATES OF AMERICA, _
STAN coe no, OR 18-0203 -SBLW
Plaintiff,
vs. ; INDICTMENT
LONNIE EARL PARLOR, 18 U.S.C. § 922(¢)(1) -
18 U.S.C. § 924(d)
Defendant. 18 U.S.C. § 924(e) |
28 U.S.C. § 2461(c)
The Grand Jury charges:

COUNT ONE

Unlawful Possession of Firearms
18 U.S.C, § 922(g)(1) and 18 U.S.C. § 924(e)

On or about April 24, 2018, in the District of Idaho, the defendant, LONNIE EARL

PARLOR, having been previously convicted of a crime punishable by imprisonment for a term

exceeding one year, to-wit: Aggravated Battery, in violation of Idaho Code § 18-903, and § 18- .

Indictment - |

 

 
907, on January 1, 2013, in the District Court of the Fourth Judicial District of the State of Idaho,
in and for Ada County, did knowingly possess in and affecting commerce firearms, to-wit: a
Winchester, Model 1300 Defender, 12 gauge shotgun, bearing serial number L3608992; a
Bushmaster, Model XM15-E2S, 5.56 NATO rifle, bearing serial number L385267; said firearms
having been shipped and transported in interstate and foreign commerce, in violation of Title 18,
United States Code, Section 922(g)(1). |

CRIMINAL FORFEITURE ALLEGATION

; Firearm Forfeiture
18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)

_ As a result of the violations of Title 18, United States Code, Sections 922(g)(1), set forth
in Count One of this Indictment, the defendant, LONNIE EARL PARLOR, shall forfeit to the
United States, any firearms involved in or used in the commission of the offense, including but
not limited to the following:

Personal Property:

A. Winchester, Model 1300 Defender, 12 gauge shotgun, bearing serial number ©
L3608992;

B. Bushmaster, Model XM15-E2S, 5.56 NATO rifle, bearing serial number
L385267;

C. Seventeen (17) 12 gauge shotgun shells; and

D. - Twenty-nine (29) rounds of .223 caliber ammunition.

Substitute Assets:

Pursuant to 21 U.S.C. § 853(p) and other applicable statutes, the government will seek
forfeiture of substitute assets, “or any other property of the defendant” up to the value of the
defendant’s assets subject to forfeiture. The government will do so when the property subject to

forfeiture cannot be forfeited for one or more of the following reasons:

Indictment - 2

 
Cannot be located upon the exercise of due diligence;
Has been transferred or sold to, or deposited with, a third person;

Has been placed beyond the jurisdiction of the court;

Has been substantially diminished in value; or

Has been commingled with other property which cannot be subdivided

‘without difficulty.

Dated this }Q _ day of July, 2018.

A TRUE BILL

/s/ [signature on reverse]

 

Foreperson

BART M. DAVIS
United States Attorney

By:

KatheNne L. Horwitz
Assistant United States Attorney

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